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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
 GREGORY GREENE, individually and on    )
 behalf of all others similarly situated,
                                        )                Case No. 14-cv-01437
                                        )
                                        )                Hon. Gary Feinerman
                         Plaintiff,     )
                                        )                Magistrate Judge Susan Cox
 v.                                     )
                                        )
 MARK KARPELES, an individual,          )
                                        )
                         Defendant.     )
_______________________________________ )
                                  JOINT STATUS REPORT

       Pursuant to the Court’s August 6, 2020 Order [Dkt. No. 499], Plaintiff Gregory Greene and

Defendant Mark Karpeles hereby submit this Joint Status Report in advance of the telephonic

status hearing scheduled for October 14, 2020 at 9:15 a.m. [Dkt. Nos. 499 and 500]:

       1.      The parties have concluded expert depositions.

       2.      Defendant’s Motion to Certify Orders for Interlocutory Appeal Pursuant to 28

U.S.C. § 1292(b) [Dkt. No. 491] is fully briefed [Dkt. Nos. 496, 497] and remains pending. The

Court held the oral argument on that motion on August 6, 2020 [Dkt. No. 499].

       3.      The Court previously set the briefing schedule on Plaintiff’s Motion for Class

Certification as follows:

            Activity                                Date for Completion
            Plaintiff’s Opening Brief in Support of           10/30/20
            Motion for Class Certification

            Defendant’s Response to Plaintiff’s                   12/2/20
            Opening Brief in Support of Motion for
            Class Certification

            Plaintiff’s Reply in Support of Motion for            12/16/20
            Class Certification
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[Dkt. No. 488.] The parties intend to abide by the existing schedule and are not requesting any

extensions at this time.

       4.      Defendant filed his Motion to Exclude the Report and Opinion Testimony of

Plaintiff’s Expert Carol Goforth Pursuant to Federal Rule of Evidence 702 [Dkt. No. 501] and

supporting Memorandum [Dkt. No. 502] on October 6, 2020. This motion is noticed for 9:15 a.m.

on October 14, 2020 [Dkt. No. 503], the same time as the status hearing.


DATED: October 7, 2020                              Respectfully submitted,

EDELSON PC                                          PEDERSEN & HOUPT
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and the putative class
